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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UL LLC,

              Plaintiff,
                                            Case No. 1:24-cv-05631
         v.
                                            Hon. Andrea R. Wood
JOSHUA CALLINGTON,

              Defendant.



         PLAINTIFF UL LLC’S MEMORANDUM IN SUPPORT OF ITS MOTION
                  FOR A LIMITED PRELIMNINARY INJUCTION



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Dated:    May 20, 2025
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I.      INTRODUCTION

        Consistent with the Court’s guidance, Plaintiff UL LLC (“UL”) seeks a limited preliminary

injunction to protect the further use or disclosure of UL’s confidential documents during the

pendency of this lawsuit. Throughout his employment with UL as a social responsibility Team

Leader auditor, Defendant Joshua Callington secretly took possession of almost 100,000

(discovery in this case may reveal an even higher number) of UL’s internal business documents,

including huge volumes of its electronically stored information (“ESI”). It is undisputed that he

has disclosed at least some of the documents publicly, including to the New York Times. He and

his counsel have represented to the Court that he plans to continue to disclose the documents. This

motion for limited preliminary injunction seeks simply to prevent further unauthorized and

unlawful dissemination of UL’s documents.

        This Court has noted that, at this early stage, it needs to see evidence that: (a) Callington

took UL’s internal documents without UL’s authorization; (b) he actually possesses UL’s

documents; and (c) that such documents are confidential. With this motion, UL provides evidence

to substantiate these assertions. UL establishes herein that Callington took personal possession of

a massive amount of UL’s internal business documents and ESI without UL’s authorization or

consent, that he was bound legally to protect the confidentiality of the documents and ESI, that his

continued possession, use and disclosure of the documents breaches his contractual and other legal

obligations, that UL lacks adequate remedy at law, it will be irreparably harmed absent injunctive

relief, and that the public interest favors the injunction.

        To protect UL’s rights to its own documents and ESI, and to prevent present and future

irreparable harm from Callington’s use or disclosure of the UL documents and ESI he possesses

and wishes to continue to use and disclose, UL respectfully requests a preliminary injunction order

to:
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        1)      Require Callington, within not later than 14 days after the Court’s entry of
        an injunctive order, to produce to UL copies of any and all UL documents and
        ESI—and any other UL property, tangible or intangible—that is in his possession
        or under his control and that he acquired or took from UL through his employment
        or working-relationship with UL. This will reasonably allow UL to designate the
        documents and ESI as “confidential”—where needed and appropriate—under the
        Interim Document Preservation Non-Disclosure Order in place and/or under a final
        protective order that is put in place for this case; and

        2)      Restrain Callington from using, modifying, deleting, publishing,
        disseminating, or otherwise disclosing to any person or entity (except as required
        or allowed by law)—whether in hard copy or electronic form—any of UL’s or its
        customers’ or employees’ confidential, proprietary, and trade secret information,
        business documents, ESI, personal identifying information, and any other property,
        tangible or intangible, that is in Callington’s possession or under his control and
        which he acquired or took from UL through his employment or working-
        relationship with UL.

II.     PRELIMINARY STATEMENT

        Although formal discovery has not begun in this litigation, UL gathered extensive evidence

in connection with an internal investigation conducted with assistance from outside counsel. While

much of that investigation is privileged, documents that Callington and his then-attorney, Michael

Leonard, provided to UL during that time undeniably confirm how Callington secretly transferred

thousands of UL’s internal documents and ESI to himself electronically. He did so by using his

personal Dropbox (cloud storage) account, the “forwarding” and Blind Carbon Copy (“Bcc”)

features in his work email account, and via personal USB storage devices plugged directly into his

work laptop. Callington provided copies to UL—albeit only after repeated requests and demands

made to him and his legal counsel—of approximately 76,000 documents he took from UL without

its knowledge or approval. In other words, Callington continues to possess his own copies of

roughly 76,000 documents.

        That is only the beginning. Gaps remain in the copy set, and Callington and his then-

counsel outright refused to return copies of many other UL documents. Callington continues to

possess copies of the UL documents and ESI he transferred to himself. Callington’s conduct has


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violated contracts he entered into with UL, various UL policies and other contracts, and certain

prohibitions and standards set forth in the code of conduct for the Association of Professional

Social Compliance Auditors (“APSCA”) (of which Callington was a member).

       At least one obvious reason why Callington engaged in this massive misappropriation and

still refuses to return UL’s documents and ESI exists: Callington intends to continue to use and

disclose UL’s confidential business documents and ESI without any regard for any confidentiality

contract and other legal obligations. This is why his current counsel has fought so hard to try to

convince this Court to dissolve the interim confidentiality order the Court previously entered in

this case. This also is why Callington’s counsel refused to engage in meaningful discussions with

UL’s counsel over the terms of a standard and more fulsome protective order for this case, one

patterned after the template protective order used in the Northern District, with several additions

UL’s counsel proposed to include in the order specific to this case. This is also why Callington

filed an Anti-SLAPP motion, a first-of-its-kind maneuver to try to have UL’s legal claims against

on Callington’s unlawful conduct dismissed, so Callington would not be under the jurisdiction of

this Court and any protective orders it has or may issue.

       Remarkably, Callington does not seek simply to disclose UL’s documents in connection

with a formal complaint to a governmental agency—which has always been permitted under the

interim confidentiality order. No, Callington apparently desires to be able to disclose UL’s internal

and confidential business documents and ESI however and to whomever he wants, perhaps even

(again) to the New York Times. In addition, during the last status conference with the Court, his

counsel mentioned how Callington intends to provide some undisclosed types and amount of UL’s

documentation to an unnamed governmental official for an unstated purpose.

       The problem with Callington’s objective is that he completely disregards and will trample




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all over UL’s rights to develop, and its obligations to protect, its confidential business information.

If allowed, and once UL’s confidential business information is disclosed by Callington in the

public domain, UL’s competitors will be able—unfairly and without making the same time and

financial investments UL has made—to gain competitive information, insights and advantages

regarding, for example, how UL plans for, and how it conducts and reports findings on, social

responsibility audits. This will include learning about UL’s internal policies, practices, procedures,

approaches, workflows, proprietary tools, and non-public information about UL’s customers--all

of which have combined to position UL as an industry leader in the social responsibility audit field.

Such disclosure, on Callington’s whim, would inflict irreparable harm on UL.

III.     STATEMENT OF FACTS

         A.     UL’s Responsible Sourcing Business

         UL provides, among other services, social responsibility compliance audits and inspection

services to its customers in many industries. (Compl. ¶ 17). Customers retain UL and its

Responsible Sourcing personnel to conduct confidential social responsibility compliance

assessments and audits of their suppliers. Generally, these audits assess workplace conditions

within a customer’s supply chain, such as whether the physical conditions of the suppliers’ plants

or facilities, and treatment of their employees, comply with safety requirements. (Exhibit 1,

Sperber Decl. ¶ 4). UL distinguishes itself from its competitors in a number of critical ways and

strives to meet the highest standards for planning, conducting, and reporting findings of the audits

it conducts. (See generally Exhibit 2, VanHagen Decl. at ¶ 4). UL has expended a great deal of

time, brainpower, and financial resources to develop its own auditor training programs, auditing

policies, quality standards and tools, grading matrix, workplace assessment criteria, workflow

processes, and levels of review, all to build and maintain a competitive advantage in the social

responsibility audit field. (Id. at ¶ 4).


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       UL’s audit services require both customers and their suppliers to provide confidential

business information to UL’s auditors. (Ex. 1, Sperber Decl. ¶ 6). This information is then subject

to and governed by non-disclosure agreements that UL enters into with its customers and their

suppliers. (Id. at ¶ 16). The confidential information generally includes, but is not limited to,

employee and management interview notes, descriptions and internal photos of the suppliers’

facilities, internal processes, personnel files and employment records, payroll records, timecards,

citizenship verification records, and workplace safety polices, practices and status of machinery

and equipment. (See generally Ex. 1, Sperber Decl. ¶ 6; see generally Ex. 2, VanHagen Decl. ¶ 5).

       UL’s auditors review and compile this information and other confidential information

obtained from customers and their suppliers to prepare a draft of an audit report, using the

processes, templates, guidelines and checklists provided by UL to prepare the report. (Ex. 1,

Sperber Decl. ¶ 6). The audit report is then reviewed by an internal UL review team to ensure

compliance with the process and to analyze the findings against a proprietary grading matrix. (See

generally id. at ¶ 7). Following the internal review and resolution of any outstanding issues, the

report is provided to UL’s customer and, in some instances, the audited supplier. (Id.). The report

itself is marked confidential, stating: “This report contains privileged or confidential information

and cannot be distributed without Client consent.” (Id. at ¶ 9). UL has specific confidentiality

policies, non-disclosure agreements with its customers, and confidentiality agreements with its

auditors to further ensure the information is maintained as confidential. (Id. at ¶ 16). Further, the

information is expected to be maintained on secure systems and not to be shared without receiving

prior permission from UL.

       B.      Callington’s Employment With UL And Confidentiality Agreements

       UL hired Callington as an independent contract auditor in May 2017 and later as a full-

time employee, Team Leader CRS, in or around April-May 2019. (Compl. ¶¶ 25, 35). In these


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roles, Callington was trained on, and had extensive access to, confidential business information

and trade secrets of UL, UL’s customers, and UL’s customers’ suppliers, as described above. (See

also Compl. ¶¶ 19, 43, 48). For this reason, UL required that Callington agree to various

confidentiality covenants. Callington signed three separate agreements (referred to in the

Complaint as “Independent Assessment Agreements”), in which he expressly agreed to not

voluntarily disclose UL and its customers’ confidential information (as defined therein). (Compl.

Exs. 1-3). Similarly, when UL hired Callington as a Team Leader CRS, UL required, as a condition

of his employment, that Callington agree to a Confidentiality and Invention Assignment

Agreement (“Confidentiality Agreement”). Specifically, Callington agreed to (1) “keep all

Confidential Information in strict confidence and ... not disclose it without [UL]’s prior written

permission,” and (2) upon termination, to “immediately deliver to [UL] ... all Confidential

Information and all documents ... that include Confidential Information” in Callington’s

possession. (Compl. ¶ 34; Compl. Ex. 4).

       C.      Callington’s Unauthorized Disclosure Of UL’s And UL’s Client Documents
               To The New York Times And UL’s Investigation

       Despite Callington’s agreements to maintain the confidentiality of UL’s and its customers’

confidential business information and documents, Callington contacted a reporter at the New York

Times and disclosed to her a large volume of UL’s confidential business documents and ESI he

wrongfully took and disclosed to the New York Times without UL’s knowledge and consent.

(Compl. ¶¶ 3, 53‒58; see generally, Exhibit 3, Malhotra Decl. ¶ 5(C); Exhibit 4, Callington’s

Former Counsel and Malhotra Emails Related to Document Requests). The reporter then wrote an

article with information and documents obtained directly from Callington, which identified UL’s

customers by name. (Compl. ¶¶ 60‒63). After the article was published, UL investigated and

determined that Callington transferred to himself, over a period of at least four years, a massive



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number of internal documents and ESI. He transferred the documents and ESI from UL’s computer

system to Callington’s personal email and cloud accounts and USB dives, including, but not

limited to, tens and tens of thousands of documents and emails, and an unknown number of photos

taken during supplier audits conducted by Callington. (Id., at ¶¶ 49‒52; Ex. 3, Malhotra Decl.

¶ 5(A)-(B); Exhibit 5, Malhotra and Callington’s Former Counsel Emails Related to Callington’s

Transmission of Documents to Sidley). Importantly, much of the evidence of Callington’s theft

comes from Callington himself—he provided UL copies (but not originals) of some (but not all)

of the documents he took. Callington continues to possess an unknown number of confidential

documents and ESI taken from UL. (Compl. ¶ 69; see generally Ex. 3, Malhotra Decl. ¶ 5(A)-(B);

Ex. 5, Malhotra and Callington’s Former Counsel Emails Related to Callington’s Transmission of

Documents to Sidley).

IV.     PROCEDURAL BACKGROUND

        On July 3, 2024, UL filed this lawsuit against Callington. (Doc. No. 1). On October 24,

2024, the Court entered an Interim Document Preservation Non-Disclosure Order while the parties

discussed terms for an order for the remainder of the lawsuit. (Doc. Nos. 16 and 17). The parties

could not reach an agreement on terms for a permanent order. Therefore, on November 15, 2024,

UL filed a Motion for Entry of a Confidentiality Order, and Callington filed a Motion to Dissolve

Interim Protective Order (which UL opposed). (Doc. Nos. 22 and 23). UL’s Motion for Entry of

a Confidentiality Order proposed for the Court enter an order modeled on this Court’s uniform

protective order and with a provision requiring Callington to produce copies of all the UL

documentation in his possession to allow UL to designate, where appropriate, documents as

“Confidential” under the protective order and for use only in this case. (Doc. No. 22). On May 5,

2025, the Court instructed UL to file a motion for a limited preliminary injunction. (Doc. No. 55).




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V.      LAW AND ARGUMENT

        A preliminary injunction is warranted when the moving party demonstrates that:

“(1) without preliminary relief, it will suffer irreparable harm before final resolution of its claims;

(2) legal remedies are inadequate; and (3) its claim has some likelihood of success on the merits.”

Eli Lilly & Co. v. Aria Foods, Inc., 893 F.3d 375, 381 (7th Cir. 2018) (emphasis added). After this

showing, the court balances on a ‘sliding scale’ the “harms to the moving party, other parties, and

the public.” Id. “The greater the movant’s likelihood of success, ‘the less strong a showing’ the

movant ‘must make that the balance of harm is in its favor.’” Epic Fresh Produce, LLC v. Olympic

Wholesale Produce, Inc., No. 17-CV-8381, 2017 WL 6059971, at *3 (N.D. Ill. Dec. 7, 2017)

(quoting Foodcomm Int’l v. Barry, 328 F.3d 300, 303 (7th Cir. 2003)).

        A.      UL Will Prevail On Its Breach Of Contract Claim

        UL is likely to succeed on the merits of its breach of contract claim.1 To succeed on

a breach of contract claim, a plaintiff must demonstrate: (1) the existence of a valid and enforceable

contract; (2) substantial performance by the plaintiff; (3) breach by the defendant; and (4) damages

caused by the breach. In re Dealer Mgmt. Sys. Antitrust Litig., 680 F. Supp. 3d 1011, 1020 (N.D.

Ill. 2023).

                1.      Callington’s Contracts With UL Are Valid And Enforceable

        While working for UL, Callington entered into several valid and enforceable contracts.

Specifically, Callington entered into three separate Independent Assessor Agreements (“IAA”),

the most recent one being on May 14, 2018. (Compl., Ex. 1-3). Each IAA contains confidentiality


1
  Because the Court’s articulated concerns related primarily to UL’s assertions that Callington took
documents and that such documents are confidential to UL, UL focuses this limited motion on the two
causes of action most related to those issues, breach of contract and conversion. The Court need not address
UL’s likelihood of success on all of its causes of action in order to award injunctive relief. See, e.g.,
Dumanian v. Schwartz, No. 19 C 6771, 2022 WL 2714994, at *12 n.8 (N.D. Ill. July 13, 2022) (citation
omitted).


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provisions, which remain in effect, prohibiting Callington from voluntarily disclosing confidential

information he obtained from UL or its clients. (Compl., Ex. 3 at ¶ 14.4). Callington subsequently

entered into a Confidentiality and Invention Assignment Agreement (“Confidentiality

Agreement”) as a condition of his employment with UL. In this Confidentiality Agreement,

Callington agreed: (i) to keep UL’s Confidential Information in strict confidence; (ii) to use such

information “solely as necessary for the performance of my duties as a UL employee and not for

the benefit of any third parties;” and (iii) to return to UL “immediately upon demand” all

Confidential Information that was in his possession following the end of his employment. (Compl.,

Ex. 4 at ¶¶ 1-2). Callington has made no serious attempt during this litigation to argue that the

IAA’s are not valid or enforceable.2 That is because the IAA’s are reasonable in scope, supported

by mutual consideration, and otherwise constitute valid and enforceable contracts. See infra, FN 4

(citing cases finding confidentiality agreements reasonable in scope). Indeed, UL duly

compensated Callington in consideration for his independent auditing services and his agreement

to maintain confidentiality over UL’s and its clients’ confidential information.

        The Confidentiality Agreement is also enforceable. Callington agreed to the terms of the

Confidentiality Agreement as a condition of his employment when he signed his offer letter in

April 2019.3 The Confidentiality Agreement is therefore supported by valuable consideration—

hiring, continued employment, compensation, and employment benefits. Duberville v. WMG, Inc.,

2015 U.S. Dist. LEXIS 4157, *43 (N.D. Ill. Jan. 13, 2015) (recognizing that confidentiality


2
  Callington’s sole argument in his Motion to Dismiss was that the Confidentiality Agreement was never
executed and would be “arguably” unenforceable even if it had been. As further discussed herein, these
arguments fail.
3
  To the extent Callington argues that the agreement is unenforceable because it post-dates his signature,
that argument fails. UL’s former system populates the letter date automatically. After Callington signed his
offer letter, through the “click and accept system” on April 30, 2019, due to Callington’s travel schedule
and his inability to complete his I-9, the offer letter was updated with a new start date, but Callington was
not required to re-sign the letter.


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agreement did not require separate consideration because it was condition of plaintiff’s

employment). The fact that Callington did not sign the Confidentiality Agreement is of no

consequence, as it was undeniably incorporated into his offer letter and a condition of his

employment. Indeed, Callington’s offer letter expressly provides that his employment offer is

subject to “[e]xecution of the attached Confidentiality and Invention assignment Agreement.” See,

e.g., AutoMed Techs., Inc. v. Eller, 160 F. Supp. 2d 915, 919 (N.D. Ill. July 11, 2001) (unsigned

confidentiality agreement attached to offer letter was enforceable regardless of whether employee

actually signed both pieces of paper because letter incorporates non-competition agreement,

employee was already subject to similar restrictive covenants in prior agreement, and employee

worked for two additional years); see also Landmark Properties, Inc. v. Architects Int’l-Chicago,

172 Ill. App. 3d 379, 383, 526 N.E.2d 603 (1988) (Illinois courts have held written, unsigned

contract is enforceable when parties acted in way that is consistent with written agreement).

       As in Eller, Callington was already subject to confidentiality provisions in not one or two,

but three IAAs. He later agreed, as a condition of his employment, to the Confidentiality

Agreement, and proceeded to work for UL for over five additional years. As this Court recognized

in Eller, this course of dealing suggests that Callington not only understood, but agreed to and

accepted the terms of the Confidentiality Agreement.

       While Callington argued in his Special Motion to Strike or Dismiss (Doc. Nos. 29 and 31)

that the Confidentiality Agreement is “arguably” not reasonably limited in scope, such

a determination at this stage—before facts are developed through discovery—is premature. See

LQD Bus. Fin., LLC v. FundKite, LLC, No. 19 C 4416, 2020 U.S. Dist. LEXIS 23210, *12 (N.D.

Ill. Feb. 11, 2020) (citing Arjo, Inc. v. Handicare USA, Inc., No. 18 C 2554, 2018 U.S. Dist. LEXIS

183037, at *21 (N.D. Ill. Oct. 25, 2018) (“At the preliminary injunction stage, the specific facts of




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the case are still being developed by the parties. It is thus typically inappropriate to conclude such

a claim is hopeless on a motion for preliminary injunction.”)).4

                2.       UL Performed Under The Contracts And Callington Breached His
                         Contracts With UL

        UL substantially performed its obligations under the IAAs and the Confidentiality

Agreement by employing Callington for over five years and duly compensating him, providing

him benefits, and otherwise satisfying all contractual duties to him under the IAAs and

Confidentiality Agreement. Callington has—and continues—to breach the IAAs and

Confidentiality Agreement. First, the Confidentiality Agreement requires Callington to return all

confidential information and documents to UL upon termination of his employment. He has not

done so; he has provided copies of some 76,000 documents (but kept the originals) and has refused

to return others altogether. This alone demonstrates breach. Second, the IAAs and Confidentiality

Agreement expressly prohibit Callington from voluntarily disclosing UL’s (and its clients’)

confidential information without its written permission. Callington blatantly breached these

provisions by, inter alia, disclosing UL (and its clients’) confidential information and business

documents to a third party (i.e., the New York Times), and failing to use UL’s confidential

information “solely as necessary for the performance of [his job] duties.” As a direct and proximate


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  But, even if the Court were inclined to engage in a reasonableness analysis at this stage, the IAAs and the
Confidentiality Agreement are reasonable in scope, and in turn, enforceable. To determine reasonableness,
it is necessary to consider “whether enforcement of the covenant will injure the public, whether enforcement
will cause undue hardship to the promisor and whether the restraint imposed by the covenant is greater than
is necessary to protect the interests of the employer.” Moss Holding Co. v. Fuller, No. 20-cv-01043, 2020
U.S. Dist. LEXIS 39068, **23-24 (N.D. Ill. March 6, 2020) (citation omitted). The covenants at issue in
this case are substantially similar to provisions that Illinois courts have upheld in circumstances where an
employee, like Callington, developed proprietary information during their employment. See Moss, 2020
U.S. Dist. LEXIS 39068, at *24 (plaintiff demonstrated likelihood of success on breach of confidentiality
agreement with unlimited duration); RKI, Inc. v. Grimes, 177 F. Supp. 2d 859, 865 (N.D. Ill. 2001) (finding
provision prohibiting employee from disseminating proprietary information “at any time after Employee
leaves the Company” was reasonable and enforceable); Coady v. Harpo, Inc., 308 Ill. App. 3d 153, 162 (1st
Dist. Ct. App. Sept. 30, 1999) (concluding that confidentiality agreement with unlimited geographic and
durational limitations was reasonable and enforceable).


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cause of Callington’s breaches, UL has and will continue to suffer irreparable harm in the form of

loss of customer goodwill and reputation, and loss of its confidential and trade secret information.

Based on the above, UL is likely to succeed on the merits of its breach of contract claim.

       B.      UL Will Prevail On Its Conversion Claim

       To establish its conversion claim, UL must establish: (1) a right to the property; (2) an

absolute, unconditional right to immediate possession of the property; (3) it demanded possession

of the property; and (4) defendant took control or claimed ownership of the property wrongfully

and without authorization. MacNeil Auto. Prods., Ltd. v. Cannon Auto. Ltd., 715 F. Supp. 2d 786,

796–97 (N.D. Ill. 2010) (quoting Edwards v. City of Chi., 389 Ill. App. 3d 350, 329 Ill.Dec. 59,

905 N.E.2d 897, 899–900 (2009)) (internal quotations omitted). “The essence of conversion is the

wrongful deprivation of one who has a right to the immediate possession of the object unlawfully

held.” MacNeil Auto., 715 F. Supp. 2d at 796–97 (quoting Horbach v. Kaczmarek, 288 F.3d 969,

978 (7th Cir. 2002)); Ill. Cent. R.R. v. Belcher, No. 2:22-cv-353, 2023 U.S. Dist. LEXIS 198688,

at *8 (N.D. Ind. Nov. 6, 2023) (plaintiff likely to succeed on merits of conversion claim where

defendant stole source code and computer files).

       During his employment with UL, Callington acquired access to UL documents and

information necessary to conduct and complete audits. UL’s investigation into Callington’s

wrongdoing revealed that he transferred tens and tens of thousands of documents to his personal

Dropbox (cloud storage) account, consisting of UL’s confidential audit materials, process

documents and forms, and UL training materials. UL unquestionably has a right to—including an

absolute and unconditional right to immediate possession of—its confidential information and

business records that Callington transferred to himself. After learning that Callington transferred

thousands of UL and UL customers’ and suppliers’ documents to his personal file system and

shared these documents with the New York Times, UL demanded immediate return of all the


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documents and information he took and in his possession; Callington refused. Simply, Callington

wrongfully retained—and continues to possess—UL’s property for his own use and/or in a manner

inconsistent with UL’s ownership of and rights in that property and with the intent to permanently

deprive UL of that property and/or negatively or irreparably altering that property so as to devalue

or diminish that property and/or its nature/status as confidential.

       C.      No Adequate Remedy At Law And Irreparable Harm

       UL will continue to suffer irreparable harm for which there is no adequate remedy at law

without the requested preliminary injunctive relief. The Confidentiality Agreement expressly

anticipates the need for injunctive relief and provides that “any breach or threatened breach of this

Agreement by me may result in irreparable harm to UL or its affiliates, business partners or clients.

As such, UL and/or its affiliates are entitled to injunctive relief to enforce this Agreement.”

(Compl., Ex. 4 at PAGEID #56). See Moss Holding, No. 20-cv-01043, 2020 U.S. Dist. LEXIS

39068, at **26-27 (plaintiff satisfied its burden to show irreparable harm and inadequate remedy

at law, in part, because confidentiality agreement anticipated need for injunctive relief).

       Moreover, UL suffered and will continue to suffer intangible damages, such as loss of

customer goodwill, reputational harm, and damage to its competitive position, which cannot be

quantified. Newmark Owens Wolf, Inc. v. Owens, 415 F.3d 630, 632 (7th Cir. 2005) (“it is precisely

the difficulty of pinning down what business has been or will be lost that makes an injury

‘irreparable.’”); Foodcomm Int’l v. Barry, 328 F.3d 300, 303 (7th Cir. 2003) (granting preliminary

injunction on breach of fiduciary duty claim and recognizing that complete loss of client

relationships constitutes irreparable injury). See Moss Holding, No. 20-cv-01043, 2020 U.S. Dist.

LEXIS 39068, at **26-27 (“Indeed intangible harms can include loss of a competitive position

and losing customers.”); Mickey’s Linen v. Fischer, No. 17 C 2154, 2017 U.S. Dist. LEXIS

145513, *61 (N.D. Ill. Sept 8, 2018) (recognizing that, in addition to lost sales and profits, other


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intangible damages associated with such losses justify injunctive relief); ABC Prods. v.

Individuals, No. 23 C 4131, 2024 U.S. Dist. LEXIS 67662, *11 (N.D. Ill. Jan. 9, 2024) (citing Aria

Diagnostics, Inc. v. Sequenom, Inc., 726 F.3d 1296, 1304 (Fed. Cir. 2013) (“Price erosion, loss of

goodwill, damage to reputation, and loss of business opportunities are all valid grounds for finding

irreparable harm.”)). Without the requested injunctive relief, UL’s confidential business

information, documents, and trade secrets will continue to be misappropriated and misused. UL

will continue to suffer damage to its customer relationships, goodwill, and reputational harm that

are impossible to ascertain or quantify at this preliminary stage.

       D.      Balance Of Hardships And The Public Interest Weighs In Favor Of An
               Injunction

       The balance of hardships heavily weighs in UL’s favor. Indeed, as set forth above, UL will

continue to suffer irreparable harm if Callington is not enjoined. On the other hand, Callington will

suffer no harm by entry of a limited injunction requiring him to disclose and produce the documents

and information still in his possession and preventing further dissemination of UL’s confidential

documents and trade secret information. Requiring Callington to simply comply with his

contractual and legal obligations does not prejudice or harm Callington. Indeed, the relief that UL

seeks would not even require Callington to fully relinquish possession over the UL documents and

ESI in his possession but would, instead, simply allow UL to review and designate copies of the

documents. This highly limited injunctive relief would enforce the provisions of Callington’s

contracts and confidentiality covenants with UL and will advance rather than disserve the public

interest. Protecting trade secret and confidential information also advances the public interest, and

courts within this District have recognized a public interest in enforcing valid contracts and

protecting trade secret and confidential information. See, e.g., Groupon, Inc. v. Shin, No. 21

C 6082, 2022 U.S. Dist. LEXIS 2685, **19-20 (N.D. Ill. Jan. 6, 2022) (recognizing the public has



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a “compelling interest in upholding valid and reasonable contracts” and “favors the protection of

trade secret and confidential information gathered and developed by a company at significant

expense.”); Brown & Brown, Inc. v. Ali, 494 F. Supp. 2d 943, 955 (N.D. Ill. June 25, 2007)

(“Courts in this District have recognized that the public interest is served by enforcing

valid contracts” and citing cases). Accordingly, the balance of the hardships and public interest

weigh in favor of the issuance of injunctive relief.

VI.    CONCLUSION

       The factual record is undisputed: without any express or implied authority from UL,

Callington transferred to his personal email and Cloud accounts, and USB drives, tens of thousands

of documents and emails from UL’s internal computer system. He also disclosed some of them to

a New York Times reporter. After numerous requests, Callington provided copies of some

documents and ESI he took from UL. But he admits he did not return copies of all the UL

documents and ESI he took, and there as gaps of missing documents and emails in the tranches of

documents and ESI he did return. Accordingly, UL respectfully requests a preliminary injunction

order to:

       1.      Require Callington, within not later than 14 days after the Court’s entry of
       an injunctive order, to produce to UL copies of any and all UL documents and
       ESI—and any other UL property, tangible or intangible—-that is in his possession
       or under his control and that he acquired or took from UL through his employment
       or working-relationship with UL. This will reasonably allow UL to designate the
       documents and ESI as “confidential”—where needed and appropriate—under the
       Interim Document Preservation Non-Disclosure Order in place and/or under a final
       protective order that is put in place for this case; and

       2.      Restrain Callington from using, modifying, deleting, publishing,
       disseminating, or otherwise disclosing to any person or entity (except as required
       or allowed by law)—whether in hard copy or electronic form—any of UL’s or its
       customers’ or employees’ confidential, proprietary, and trade secret information,
       business documents, ESI, personal identifying information, and any other property,
       tangible or intangible, that is in Callington’s possession or under his control and
       which he acquired or took from UL through his employment or working-
       relationship with UL.


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                                          Respectfully submitted,

                                          UL LLC


                                          By: /s/ James M. Witz
                                          One of Plaintiff’s Attorneys

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                                  CERTIFICATE OF SERVICE

          I certify that I have, this 20th day of May, 2025, filed a copy of the foregoing document,

Plaintiff UL LLC’s Memorandum in Support of its Motion for a Limited Preliminary Injunction,

electronically. Counsel of record for Defendant may access this filing through the Court’s system.


                                                      /s/ James M. Witz
                                                      An Attorney for Plaintiff
4920-4276-2565.1 / 118575.1072




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